      Case 4:17-cr-00267-DPM Document 151 Filed 10/15/20 Page 1 of 7



            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                      CENTRAL DIVISION

UNITED STATES OF AMERICA                                      PLAINTIFF

v.                       No. 4:17-cr-267-DPM

ERIC SCOTT KINDLEY                                         DEFENDANT

                                 ORDER
     The Court has benefitted from the parties' timely briefing on their
objections to the 30 July 2020 presentence report. For the reasons that
follow, the Court overrules both parties' objections and directs two
tweaks to the report.
     DNA Evidence - Paragraph 48.            This paragraph accurately
summarizes the DNA evidence offered at trial and also captures the
parties' respective positions about its value. Kindley' s objection goes
primarily to the weight the Court should give this evidence, not to
whether it's appropriately included in the presentence report. The
objection is therefore overruled. In any event, the DNA evidence is
not central to arriving at a fair and just sentence in this case.      FED.   R.

CRIM. P. 32(i)(3)(B).
      Kidnapping and Abduction - Paragraphs 66 & 73.                Kindley
objects to using kidnapping as an underlying offense for purposes of
USSG § 2Hl.l(a)(l).      This objection doesn't affect the advisory
Guidelines range because the criminal sexual abuse Guideline - not the
       Case 4:17-cr-00267-DPM Document 151 Filed 10/15/20 Page 2 of 7



kidnapping Guideline- drives Kindley' s offense level. Nonetheless,
the objection is overruled. The jury concluded beyond a reasonable
doubt that Kindley' s conduct in Counts 1 and 2 involved kidnapping.
Doc. 124 at 2 & Doc. 125 at 3. And the Court stands by its instruction
that kidnapping includes seizing, confining, keeping, or detaining
someone without her consent for the purpose of sexual gratification.
Doc.    123   at   15   &   24;    EIGHTH CIRCUIT MODEL CRIMINAL
INSTRUCTION 6.18.1201; United States v. Guidry, 456 F.3d 493, 509-11
(5th Cir. 2006).
       Kindley also objects to the abduction enhancement applied when
analyzing Counts 1 and 2 under the criminal sexual abuse Guideline.
USSG § 2A3.1(b)(5). He argues that his conduct doesn't fit within
various dictionary definitions of "abduction." But the definition that
matters here is the one found in the Guidelines: '" Abducted' means
that a victim was forced to accompany an offender to a different
location." USSG § 1B1.1, cmt. n.l(A). The United States proved that
that's what happened to each victim in this case. This objection is
therefore overruled, too.
       Custody, Color of Law, and Physical Restraint - Paragraphs 66
& 73, 68 & 75, and 69 & 76. Kindley received a two-level increase for
the victims being in his custody, care, or supervisory control and a six-
level increase for acting under color of law. Doc. 146 at 7-9 & n.4;

                                    -2-
        Case 4:17-cr-00267-DPM Document 151 Filed 10/15/20 Page 3 of 7



USSG §§ 2A3.l(b)(3) & 2Hl.l(b)(l)(B). His objection to each is similar:
He already received a four-level increase for his offense involving
"conduct described in 18 U.S.C. § 2241(a) or (b)[.]"                     USSG
§ 2A3.l(b)(l); PSR at     ,r,r 66   & 73. He believes that statute already
contemplates custody of a prisoner and, by extension, action under
color of law.     18 U.S.C. § 2241(a) & (b).     He therefore argues that
applying either of these two enhancements is impermissible double
counting.
        The Court is not persuaded by Kindley' s argument.           Federal
custody is one jurisdictional hook for a § 2241 offense. But it does not
follow that every§ 2241 offense involves a victim in custody or action
under color of law.           The four-level increase in § 2A3.l(b)(l)
distinguishes between sexual abuse under § 2242 and aggravated
sexual abuse under § 2241, logically treating the latter more harshly.
This Guideline doesn't account for a victim in custody or for a
defendant acting under color of law.              Thus, neither of those
enhancements is impermissibly duplicative.*
        Kindley also argues that applying the color-of-law enhancement
is double counting because that was an element of his offense. This



* Kindley previously objected to these enhancements as duplicative of
one another, too. He has since withdrawn that objection. Doc. 146
at 9.
                                       -3-
      Case 4:17-cr-00267-DPM Document 151 Filed 10/15/20 Page 4 of 7



argument fails, too.    The statute of conviction does require action
under color of law. 18 U.S.C. § 242. But the Guidelines at issue cover
a wider swath of conduct than§ 242 offenses. USSG §§ 2A3.1 & 2Hl.1.
Because the relevant Guidelines don't begin with the premise that a
defendant acted under color of law, it's appropriate to account for that
fact by way of a specific offense characteristic later in the calculus.
United States v. Glinn, 863 F.3d 985, 989-90 (8th Cir. 2017).
     Last, physical restraint. Kindley previously objected to this two-
level enhancement, arguing that it necessarily duplicated the
enhancement for acting under color of law. Doc. 146 at 8 n.4; USSG
§ 3Al.3.   There's some murkiness about whether he maintains an
objection here because the briefing speaks in terms of "custody,"
echoing the earlier enhancement.          PSR at   ,r,r   66 & 73;     USSG
§ 2A3.l(b)(3).    In any event, any remaining objection to this
enhancement is overruled. Neither the base offense level nor any of
the previous increases or specific offense characteristics necessarily
contemplate forcible restraint of a victim. USSG § lBl.1, cmt. n.l(L).
This enhancement was appropriately applied.
     Paragraphs 71 & 78 - Obstruction of Justice. Kindley' s final
objection is to the two-level enhancement for obstruction of justice.
USSG § 3Cl.1. Obstruction includes "threatening the victim of the
offense in an attempt to prevent the victim from reporting the conduct

                                   -4-
      Case 4:17-cr-00267-DPM Document 151 Filed 10/15/20 Page 5 of 7



constituting the offense of conviction." USSG § 3C1.1, cmt. n.4(K).
Further, even if obstructive conduct occurs before an investigation
begins, it may still be covered by the Guideline "if the conduct was
purposefully calculated, and likely, to thwart the investigation or
prosecution of the offense of conviction." USSG § 3C1.1, cmt. n.1.
     Both E.S. and A.M. testified at trial about comments Kindley made
to discourage them from reporting him-telling them that what
happens in the van stays in the van and that no one would believe them.
More directly, E.S. testified that the day after her assault, Kindley told
her that if she said anything, he knew a prosecutor who would give her
the max sentence for her crime. The Court concludes that, at the very
least, this particular threat fits within the Guidelines' examples of
obstructive conduct and was both calculated and likely to thwart
investigation or prosecution.    USSG § 3C1.1 cmt. n.1 & 4(K). The
two-level enhancement therefore applies.
     USSG § 3Al.l(b)(l) - Vulnerable Victim. The United States'
only objection to the presentence report is that Kindley should have a
received a two-level vulnerable victim enhancement.           It concedes,
though, that a ruling is unnecessary because Kindley' s offense level is
already well above the sentencing chart's level 43 cut-off.            In any
event, the Court agrees with the probation officer on this point. The
factors that made Kindley' s victims particularly vulnerable - their

                                   -5-
      Case 4:17-cr-00267-DPM Document 151 Filed 10/15/20 Page 6 of 7



being in his custody, their physical restraint, and his acting under color
of law - are all incorporated in the offense guideline and other
enhancements already applied. This objection is therefore overruled.
     Two Tweaks.       Based on the rulings in this Order, the Court
concludes that the Guidelines calculation in the 30 July 2020
presentence report is correct. The Court does, however, direct two
changes at the margin: First, in Paragraphs 66 and 73, the second
                       II                                       II
heading should read Criminal Sexual Abuse" instead of Criminal
Sexual Assault."      USSG § 2A3.1.         Second, the Offense Level
Computation section of the presentence report does not address
Count 3.   This is likely because the computation is simple:           the
Guidelines recommendation for Count 3 is the five-year statutory
minimum. USSG § 2K2.4(b). Nonetheless, it would be helpful to the
Court to have a paragraph to that effect added. It should be inserted
after Paragraph 86.
     Housekeeping. Kindley' s lawyer has informally advised that he
doesn't object to the amounts in the United States' motion for
restitution, Doc. 145. The Court directs the United States to file a
sealed paper by 6 November 2020 with the addresses where the Clerk
should mail restitution payments. If payments will be mailed directly
to the victims, then the paper may be filed ex parte with a redacted
version provided to opposing counsel.

                                   -6-
      Case 4:17-cr-00267-DPM Document 151 Filed 10/15/20 Page 7 of 7




                                *     *    *
     Objections overruled. The Court directs the Clerk to provide a
copy of this Order to the United States Probation Office.
     So Ordered.


                                    D .P. Marshall Jr.
                                    United States District Judge




                                     -7-
